                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                                CENTRAL DIVISION

PAMELA BELMONT,                             )
                                            )
               Plaintiff,                   )
                                            )
v.                                          )    Case No. 2:18-cv-4102
                                            )
MEDICREDIT, INC.,                           )
                                            )
               Defendant.                   )

               DEFENDANT MEDICREDIT, INC.’S NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1331, 1441 and 1446, Defendant Medicredit, Inc.

(“Medicredit”), by and through counsel, submits this Notice of Removal. In support thereof,

Medicredit states the following:

       1.      On or about April 25, 2018, Plaintiff Pamela Belmont (“Plaintiff”) initiated her

civil action by filing a Petition and Jury Demand (the “Complaint”) in the Thirteenth Judicial

Circuit of Boone County, Missouri, styled Pamela Belmont v. Medicredit, Inc., Case No. 18BA-

CV01606 (the “State Court Action”).

       2.      On April 26, 2018, Medicredit was served with Plaintiff’s cause of action. Copies

of the summons and other related court documents are attached as Exhibit A, which represent all

of the documents and pleadings received by or served upon Medicredit in connection with the

State Court Action.

       3.      Plaintiff’s Complaint alleges that Medicredit violated sections of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”). See generally, Exhibit A.

       4.      This Court has original jurisdiction of Plaintiff’s cause of action pursuant to 28

U.S.C. § 1331 because Plaintiff’s Complaint involves a federal question.


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        5.      28 U.S.C. § 1331 states that “[t]he district courts shall have original jurisdiction of

all civil actions arising under the . . . laws . . . of the United States.” 28 U.S.C. § 1331.

        6.      The FDCPA is a federal law of the United States. See e.g., Quinn v. Ocwen Fed.

Bank FSB, 470 F.3d 1240, 1244 (8th Cir. 2006) (discussing FDCPA case removed from state

court under federal question jurisdiction); Hickman v. Alpine Asset Mgmt. Grp., LLC, 919 F.

Supp. 2d 1038, 1043 (W.D. Mo. 2013) (same).

        7.      Moreover, 15 U.S.C § 1692k(d) of the FDCPA states that “[a]n action to enforce

any liability created by this subchapter may be brought in any appropriate United States district

court without regard to the amount in controversy…within one year from the date on which the

violation occurs.” Medicredit will also rely on the FDCPA because Plaintiff files suit against

Medicredit in bad faith and for purposes of harassment. See 15 U.S.C. § 1692k(a)(3).

        8.      Medicredit’s Notice of Removal is properly before the Court pursuant to 28

U.S.C. § 1441(a). This Notice of Removal is timely because it is filed within 30 days of

Medicredit being served with Plaintiff’s Complaint. See 28 U.S.C. § 1446(b).

        9.      Pursuant to 28 U.S.C. § 1446(d), Medicredit will promptly notify Plaintiff’s

counsel in writing of the filing of this Notice, and Medicredit will file a copy of this Notice with

the Clerk of the Judicial Circuit of Boone County, Missouri.

        WHEREFORE, Defendant Medicredit, Inc. respectfully notifies the Court that the State

Court Action pending against Medicredit has been removed in accordance with the foregoing

statutory provisions.




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Dated: May 23, 2018                             Respectfully Submitted,
                                                SPENCER FANE LLP

                                                /s/ Olawale O. Akinmoladun
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                                                ATTORNEY FOR DEFENDANT


                               CERTIFICATE OF SERVICE

       I hereby certify that, on this 23rd day of May, 2018, I electronically filed the foregoing
through the Court’s CM/ECF system, and served a copy via e-mail and first class mail, postage
prepaid, to:

       Joel S. Halvorsen
       Gregory M. Klote
       HALVORSEN KLOTE
       680 Craig Road, Suite 104
       St. Louis, MO 63141
       ATTORNEYS FOR PLAINTIFF

                                                /s/ Olawale O. Akinmoladun
                                                An Attorney for Defendant
                                                Medicredit, Inc.




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